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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                AT CHARLESTON


 IN RE ETHICON, INC., PELVIC
 REPAIR SYSTEM PRODUCTS
 LIABILITY LITIGATION                                    Master File No. 2:12-MD-02327
                                                                   MDL 2327

 THIS DOCUMENT RELATES TO:                                           WAVE 8

 Vanessa Dates v. Ethicon, Inc., et al.                      JOSEPH R. GOODWIN
 Case No. 2:15-cv-11333                                      U.S. DISTRICT JUDGE



                    MEMORANDUM IN SUPPORT OF DEFENDANTS’
                    MOTION FOR PARTIAL SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56(a), Defendants Ethicon, Inc. and Johnson

& Johnson (collectively “Ethicon”) hereby move for summary judgment on certain of Plaintiff’s

claims. Plaintiff Vanessa Dates alleges complications arising from the implantation of Prolift. All

of Plaintiff’s substantive claims are abrogated by the Ohio Product Liability Act (“OPLA”) and

can only be brought pursuant to the OPLA. For that reason, her common law claims should be

dismissed with prejudice. Moreover, to the extent the Plaintiff’s Complaint is construed as alleging

claims under the OPLA, her claims fail, as a matter of law, to the extent they are based on

manufacturing defect (Count II), “defective product” (Count IV), and negligent infliction of

emotional distress (Count X). 1




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         By moving for summary judgment on some issues and not others, Defendants are not
waiving or abandoning their right to assert their arguments on those issues under the applicable
federal or local rules of procedure at such other time(s) as the remand or transferor court deems
appropriate.
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                          STATEMENT OF UNDISPUTED FACTS

       1.      Plaintiff Vanessa Dates (“Plaintiff” or “Ms. Dates”), an Ohio resident, underwent

surgery on October 22, 2007, during which Dr. Jeffrey Carey implanted the Prolift device to treat

Ms. Dates’ pelvic organ prolapse. See Short Form Compl., Doc. No. 1 at ¶¶ 4, 8-12; Ex. A, Pl.

Fact Sheet (redacted) (“PFS”) at 2, 5.

       2.      Ms. Dates’ surgery to implant the Prolift was performed in Ohio. See Short Form

Compl. at ¶¶ 8-12; Ex. A, PFS at 5.

       3.      Ms. Dates has received other relevant medical care and treatment in Ohio. See Ex.

A, PFS at 8-9, 13.

       4.      Plaintiff filed suit in the MDL on July 17, 2015, in which she asserts the following

claims: Negligence (Count I); Strict Liability – Manufacturing Defect (Count II); Strict Liability

– Failure to Warn (Count III); Strict Liability – Defective Product (Count IV); Strict Liability –

Design Defect (Count V); Common Law Fraud (Count VI); Fraudulent Concealment (Count VII);

Constructive Fraud (Count VIII); Negligent Misrepresentation (Count IX); Negligent Infliction of

Emotional Distress (Count X); Breach of Express Warranty (Count XI); Breach of Implied

Warranty (Count XII); Violation of Consumer Protection Laws (Count XIII); Gross Negligence

(Count XIV); Unjust Enrichment (Count XV); Punitive Damages (Count XVII); and Discovery

Rule and Tolling (Count XVIII). See Short Form Compl. at ¶ 13.

       5.      Plaintiff submitted a case-specific expert report from Dr. Kevin Jovanovic. See Ex.

B, Case-Specific Report of Kevin Jovanovic, M.D. (June 11, 2018). In his report, Dr. Jovanovic

does not opine on the cause of any alleged emotional or psychological injuries.




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                                            ARGUMENT

       Summary judgment is proper where, when drawing permissible inferences in favor of the

nonmoving party, there is no genuine issue of material fact and the movant is entitled to judgment

as a matter of law. FED. R. CIV. P. 56(a); Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio Corp.,

475 U.S. 574, 587-88 (1986). The Court’s function at this stage is not to “weigh the evidence and

determine the truth of the matter but to determine whether there is a genuine issue for trial.”

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 252 (1986).

I.     Ohio Law Applies to Plaintiff’s Substantive Claims.

       Plaintiff filed suit in the MDL. See Short Form Compl., Doc. No. 1. For cases filed directly

in the MDL, this Court has ruled that “the choice of law that applies is the place where the plaintiff

was implanted with the product.” Belanger v. Ethicon, Inc., No. 2:13-cv-12036, 2014 WL 346717,

at *7 (S.D. W. Va. Jan. 30, 2014). Here, Plaintiff’s implantation surgery occurred in Ohio, and,

therefore, the Ohio choice-of-law test applies. See Short Form Compl. at ¶¶ 8-12; Ex. A, PFS at 5.

       Ohio applies the “most significant relationship” test of the Restatement (Second) of

Conflicts of Law. Morgan v. Biro Mfg. Co., 474 N.E.2d 286, 289 (Ohio 1984). Under this test,

“the law of the place of injury controls unless another jurisdiction has a more significant

relationship to the lawsuit.” Id. Because Plaintiff is an Ohio resident and asserts product liability

claims arising out of alleged injuries that occurred in Ohio, Ex. A, PFS at 2, 5, 8-9, 13, Ohio law

applies to Plaintiff’s substantive claims. See Pilgrim v. Univ. Health Card, LLC, 660 F.3d 943,

946 (6th Cir. 2011) (listing the residence of the parties as an additional factor to consider) (applying

Ohio law); see also Bellew v. Ethicon, Inc., No. 2:13-CV-22473, 2014 WL 6886129, at *2 (S.D.

W. Va. Nov. 24, 2014).




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II.    The Ohio Product Liability Act Governs Plaintiff’s Claims.

       A.      All of Plaintiff’s Common Law Claims are Abrogated by the Ohio Product
               Liability Act.

       As this Court has recognized in other mesh cases, Ohio has abrogated all common law

product liability claims by statute. See, e.g., Vignos-Ware v. Ethicon, Inc., No. 2:12-cv-00761,

2017 WL 588286, at *3 (S.D. W. Va. Feb. 13, 2017). The Ohio Product Liability Act (“OPLA”)

defines a product liability claim as one that “seeks to recover compensatory damages from a

manufacturer or supplier for death, physical injury to person, emotional distress, or physical

damage to property other than the product in question.” OHIO REV. CODE. § 2307.71(A)(13). Such

a claim arises from (1) the product’s defective manufacture; (2) the product’s defective design or

formulation; (3) an inadequate warning or instruction related to the product; or (4) the product’s

failure to conform to a relevant representation or warranty. Id. Under Ohio law, a plaintiff is barred

from asserting common law product liability causes of action against a defendant. The OPLA

abrogates “all common law product liability claims or causes of action.” OHIO REV. CODE §

2307.71(B) (emphasis added).

       This Court has granted summary judgment to Ethicon on certain claims under the OPLA –

and should do so again here: Negligence (Count I); Common Law Fraud (Count VI); Fraudulent

Concealment (Count VII); Constructive Fraud (Count VIII); Negligent Misrepresentation (Count

IX); Negligent Infliction of Emotional Distress (Count X); Breach of Express Warranty (Count

XI); Breach of Implied Warranty (Count XII); Violation of Consumer Protection Laws (Count

XII); Gross Negligence (Count XIV); and Unjust Enrichment (Count XV). See Vignos-Ware, 2017

WL 588286, at *3; see also Degarmo v. C.R. Bard, Inc., No. 2:12-cv-07578, 2018 WL 700791, at

*3 (S.D. W. Va. Feb. 2, 2018) (dismissing all product liability claims sounding in negligence under

the OPLA).


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       Other courts have dismissed similar claims under the OPLA, including claims for

negligence, warranty and fraud; 2 consumer protection; 3 and unjust enrichment. 4

       Because Ohio law does not recognize these claims in a product liability lawsuit, Ethicon is

entitled to summary judgment on Plaintiff’s claims for Negligence (Count I); Common Law Fraud

(Count VI); Fraudulent Concealment (Count VII); Constructive Fraud (Count VIII); Negligent

Misrepresentation (Count IX); Negligent Infliction of Emotional Distress (Count X); Breach of

Express Warranty (Count XI); Breach of Implied Warranty (Count XII); Violation of Consumer



       2
          See In re Darvocet, Darvon, & Propoxyphene Prods. Liab. Litig., 756 F.3d 917, 950 (6th
Cir. 2014) (holding that the plaintiff’s misrepresentation claims fell within the OPLA) (noting that
the court in Hogue v. Pfizer, Inc. observed that “the ‘OPLA does abrogate fraud claims arising
from a duty to warn.’”) (quoting Hogue, 893 F. Supp. 2d 914, 918 (S.D. Ohio 2012)); Krumpelbeck
v. Breg, Inc., 491 F. App’x. 713, 721 (6th Cir. 2012) (upholding grants of summary judgment
under the OPLA on plaintiff’s “common law claims of breach of express warranty, breach of
implied warranty, and negligent misrepresentation and fraud”); Jones v. Staübli Motor Sports Div.
of Staübli Am. Corp., 897 F. Supp. 2d 599, 618 (S.D. Ohio 2012) (granting summary judgment on
gross negligence claim); Fulgenzi v. PLIVA, Inc., 867 F. Supp. 2d 966, 972-73 (N.D. Ohio 2012)
(dismissing plaintiff’s common-law claims, including fraud and misrepresentation, constructive
fraud, and fraudulent concealment), rev’d on other grounds, Fulgenzi v. PLIVA, Inc., 711 F.3d 578
(6th Cir. 2013); Miller v. ALZA Corp., 759 F. Supp. 2d 929, 943 (S.D. Ohio 2010) (granting
summary judgment on negligence, negligent misrepresentation, and warranty claims); Johnson v.
Eli Lilly & Co., No. 1:14cv453, 2015 WL 1120009, at *2 (S.D. Ohio Mar. 12, 2015) (holding that
the plaintiff’s fraud claim based on omission and concealment of information in the context of a
pharmaceutical manufacturer’s duty to warn about its product was preempted by the OPLA);
Saraney v. TAP Pharm. Prods., Inc., No. 1:04 CV 02026, 2007 WL 148845, at *8 (N.D. Ohio Jan.
16, 2007) (negligence claim); Parker v. ACE Hardware Corp., 104 N.E.3d 298, 305 (Ohio Ct.
App. 2018) (granting summary judgment on claims for negligence, negligent failure to warn, and
negligent misrepresentation “[s]ince the OPLA provided the exclusive remedy for the claims”);
Luthman v. Minster Supply Co., No. 2-06-43, 2008 WL 169999, at *7 (Ohio Ct. App. Jan. 22,
2008) (“[OPLA] has preempted the implied warranty of merchantability and the implied warranty
of fitness for a particular purpose”).
       3
         See S.S. v. Leatt Corp., No. 1:12-cv-483, 2013 WL 3777098, at *2 (N.D. Ohio Jul. 17,
2013) (granting summary judgment on the plaintiff’s claims under the Ohio Consumer Sales
Practices Act, OHIO REV. CODE § 1345.01 et seq.); Mitchell v. Proctor & Gamble, No. 2:09-cv-
426, 2010 WL 728222, at *5 (S.D. Ohio Mar. 1, 2010).
       4
        See Leen v. Wright Med. Tech., Inc., No. 3:15-CV-125, 2015 WL 5545064, at *2 (S.D.
Ohio Sept. 18, 2015) (dismissing the plaintiff’s unjust enrichment claim).

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Protection Laws (Count XIII); Gross Negligence (Count XIV); and Unjust Enrichment (Count

XV).

       B.      Many of Plaintiff’s Claims Also Should Be Dismissed as Duplicative.

       In addition, Plaintiff cannot sustain separate claims for fraud (Count VI), fraudulent

concealment (Count VII), constructive fraud (Count VIII), negligent misrepresentation (Count

IX), breach of express and implied warranties (Counts XI, XII), violation of consumer protection

laws (Count XIII), or unjust enrichment (Count XV). All of these claims should be dismissed as

repurposed failure to warn claims, because each is premised upon Ethicon’s alleged failure to warn

Dr. Jeffrey Carey of the risks of Prolift. Because those claims are also governed by Ohio’s learned

intermediary doctrine, see, e.g., Tracy v. Merrell Dow Pharms., Inc., 569 N.E.2d 875, 878 (Ohio

1991), they are virtually indistinguishable from Plaintiff’s failure-to-warn claim. See Huskey v.

Ethicon, Inc., 29 F. Supp. 3d 736, 743-45 (S.D. W. Va. 2014) (finding that “courts around the

country have extended the learned intermediary doctrine to all claims based on a manufacturer’s

failure to warn, including claims for fraud misrepresentation, and breach of warranty” (citing

cases)).

       As this Court has held, such repackaged claims should be dismissed because a plaintiff

cannot evade the learned intermediary doctrine by presenting what is in essence a failure-to-warn

claim under different theories of recovery. See Huskey, 296 F. Supp. 3d at 743-744 (holding that

“the plaintiffs’ fraud-based claims and warranty claims are simply repackaged failure-to-warn

claims” and awarding judgment to Ethicon on fraud, fraudulent concealment, constructive fraud,

negligent misrepresentation, and breach of warranty claims on that basis under Illinois law);

Bellew v. Ethicon, No. 2:13-cv-22473, 2014 WL 6886129, at *5-6 (S.D. W. Va. Nov. 24, 2014)

(dismissing claims for fraud, fraudulent concealment, negligent misrepresentation, breach of

warranty, and Arizona Consumer Fraud Act as “repackaged” failure-to-warn claims). That is
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because “[i]f the learned intermediary doctrine ‘could be avoided by casting what is essentially a

failure to warn claim under a different cause of action . . . then the doctrine would be rendered

meaningless.’” Huskey, 29 F. Supp. 3d at 745 (quoting In re Norplant Contraceptive Prods. Liab.

Litig., 955 F. Supp. 700, 709 (E.D. Tex. 1997)).

       Plaintiff’s claims for fraud, fraudulent concealment, constructive fraud, negligent

misrepresentation, and consumer protection do not constitute separate grounds for recovery and

should be dismissed with prejudice.

       C.      The OPLA Does Not Recognize a Cause of Action for “Strict Liability –
               Defective Product.”

       Plaintiff is also prevented by the OPLA from asserting a claim for “strict liability –

defective product” (Count IV). A search of Ohio law also reveals that no such cause of action

exists. Thus, Count IV should be dismissed.

III.   Plaintiff Has No Summary Judgment Evidence of a Manufacturing Defect.

       To the extent Plaintiff is permitted to proceed on a manufacturing defect theory of products

liability under the OPLA, she has no summary judgment evidence to support such a claim. To

succeed on a claim of defective manufacturing, a plaintiff must establish “(1) the product in

question was defective in manufacture or construction; (2) the defective aspect of the product was

a proximate cause of the plaintiff’s injury; and (3) the defendant manufactured the actual product

in question.” Smitley v. Nissan N. Am., Inc., No. 2:09-CV-148, 2010 WL 3027915, at *2 (S.D.

Ohio Aug. 2, 2010) (citing OHIO REV. CODE § 2307.73). “A product is defective in manufacture

or construction if, when it left the control of its manufacturer, it deviated in a material way from

the design specifications, formula, or performance standards of the manufacturer, or from

otherwise identical units manufactured to the same design specifications, formula, or performance

standards.” OHIO REV. CODE § 2307.74. Expert witness testimony on the issue of manufacturing


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defect is required to survive summary judgment on that claim. See Botnick v. Zimmer, Inc., 484 F.

Supp. 2d 715, 724-25 (N.D. Ohio 2007).

       Plaintiff has no summary judgment evidence on this theory. There is no evidence that the

Prolift implanted in Plaintiff deviated from an objective standard or from Ethicon’s specifications.

In addition, no expert for Plaintiff has opined that a deviation from the manufacturer specifications

caused an injury to her. See Ex. B, Case-Specific Report of Kevin Jovanovic, M.D. (June 11,

2018). The Court should therefore rule that Plaintiff’s theory of manufacturing defect liability fails

as a matter of law.

IV.    Plaintiff’s Claim for Negligent Infliction of Emotional Distress Fails Under Ohio Law
       Because She Cannot Establish the Requisite Elements of Such Claim.

       To the extent Plaintiff is permitted to proceed with a negligent infliction of emotional

distress theory of liability under the OPLA, she cannot establish the requisite elements of that

theory without expert evidence. Under Ohio law, in order to prevail on a claim for negligent

infliction of emotional distress, a plaintiff must establish “serious emotional distress[,]” which

“describes an emotional injury which is both severe and debilitating.” White v. Bhatt, No. 17CA30,

2017-Ohio9277, 2017 WL 6618857, ¶¶ 21-22 (Ohio Ct. App. 5th Dist. Richland Dec. 22, 2017).

Examples of “serious emotional distress should include traumatically induced neurosis, psychosis,

chronic depression, or phobia.” Id.

       Courts applying Ohio law have held that evidence of alleged “severe emotional distress”

is “insufficient” where the plaintiff does not seek medical or psychological treatment and/or does

not miss work as a result of the alleged emotional injury. Id. ¶ 29. Finally, expert testimony is

required to establish the requisite connection between a defendant’s alleged conduct and the

claimed emotional injury. Id. at ¶ 28; Wright v. Columbus, No. 05AP-432, 2006-Ohio-759, 2006

WL 391823, ¶ 6 (Ohio Ct. App. 10th Dist. Franklin Feb. 10, 2006).


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       Here, as set forth above, Plaintiff has not come forward with any expert medical testimony

on summary judgment establishing the requisite causal connection between the allegedly defective

products and any of her alleged injuries, including her alleged emotional distress. See Ex. B, Case-

Specific Report of Kevin Jovanovic, M.D. (June 11, 2018). For that reason, Count X should be

dismissed.

                                         CONCLUSION

       For these reasons, Ethicon’s motion for partial summary judgment should be granted. All

of Plaintiff’s claims are abrogated by the OPLA and can only be brought pursuant to the OPLA.

Accordingly, the Court should dismiss with prejudice Plaintiff’s claims for Negligence (Count I);

Common Law Fraud (Count VI); Fraudulent Concealment (Count VII); Constructive Fraud (Count

VIII); Negligent Misrepresentation (Count IX); Negligent Infliction of Emotional Distress (Count

X); Breach of Express Warranty (Count XI); Breach of Implied Warranty (Count XII); Violation

of Consumer Protection Laws (Count XII); Gross Negligence (Count XIV); and Unjust

Enrichment (Count XV). The Court should also rule that Plaintiff’s claims fail, as a matter of law,

under the Ohio Product Liability Act to the extent they are based on manufacturing defect (Count

II), “defective product” (Count IV), and negligent infliction of emotional distress (Count X).




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                                CERTIFICATE OF SERVICE

       I certify that on this day, I electronically filed this document with the clerk of the court

using the CM/ECF system, which will send notification of this filing to CM/ECF participants

registered to receive service in this MDL.



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